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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 TQ DELTA, LLC,

                            Plaintiff;

                 V.                                 Civil Action No . 13-1835-RGA

  2WIRE, INC.,

                            Defendant.



                               MEMORANDUM OPINION

 Brian E. Farnan and Michael J. Farnan, FARNAN LLP, Wilmington, DE; Peter J. McAndrews,
 Thomas J. Wimbiscus, James P. Murphy, Paul W. McAndrews, Anna M. Targowska, and
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 Plaintiff.

 Jody C. Barillare, MORGAN LEWIS & BOCKIUS LLP, Wilmington, DE; Brett Schuman,
 Rachel M. Walsh, and Monte M.F. Cooper, GOODWIN PROCTER LLP, San Francisco, CA,
 attorneys for Defendant.




 April   -LQ ,2019
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                     -~ !STRICT JUDGE:

        Currently pending before the Court are the parties' various motions for summary judgment

 (D.I. 715, 735, 739, 746, 856) and Daubert motions (D.I. 718, 720, 730). The parties have fully

 briefed the issues. (D.I. 716, 719, 721 , 731 , 736, 740, 747,841,843, 850, 853,854,855,858, 915,

 918, 919,925,928,929,930). After full consideration of the briefing, the motions are resolved as

 follows.

 I.     BACKGROUND

        Plaintiff TQ Delta filed this lawsuit against Defendant 2Wire on November 4, 2013

 asserting infringement of twenty-four patents. (D.I. 1). I have divided the case into separate trials

 based on families of patents. (D.I. 280). For the Family 2 trial, Plaintiff currently asserts two

 claims of U.S. Patent No. 7,453 ,881 ("the '881 patent"). The Accused Products are 2Wire' s

 5168N, 5168NV, 5268AC, and i3812V CPE devices. The ' 881 patent relates to DSL technologies.

 Specifically, the ' 881 patent claims systems and methods of"reducing latency, or end-to-end delay

 of data transmission, in asynchronous transfer mode ('ATM' ) communications systems ... thereby

 generating a high data rate connection in ATM communication systems." (D.I. 486 at 4).

        The asserted claims read as follows :

        17. A plurality of bonded transceivers, each bonded transceiver utilizing at least
        one transmission parameter value to reduce a difference in latency between the
        bonded transceivers, wherein a data rate for the first of the bonded transceivers is
        different for a second of the bonded transceivers.

        18. The transceivers of claim 17, wherein the at least one transmission parameter
        value is a Reed Solomon Coding parameter value, an interleaving parameter value,
        a coding parameter value, a codeword size value or a framing parameter value.

 (' 881 patent, cl. 17-18). I have construed three of the terms in the ' 881 patent and have set out the

 constructions below:


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  Claim Term                      Court's Construction
                                  "communications device capable of transmitting and receiving
  "transceiver"                   data wherein the transmitter portion and receiver portion share
                                  at least some common circuitry"
                                  "two or more transceivers located on the same side of two or
                                  more physical links where each transceiver is configurable to
  "plurality of bonded            transmit or receive a different portion of the same bit stream
  transceivers"                   via a different one of the physical links, wherein 'configurable
                                  to ' precludes rebuilding, recoding, or redesigning any of the
                                  components in a 'plurality of bonded transceivers" '
  "utilizing at least one
  transmission parameter value    "utilizing at least one transmission parameter value to reduce a
  to reduce a difference in       difference in configuration latency between the bonded
  latency between the bonded      transceivers"
  transceivers"

 (D.I. 492 at 2).

         There are international standards relevant to the functionality of DSL systems. Both the

 International Telecommunications Union ("ITU") and the IEEE have developed such standards.

 The relevant standards for the dispute between the parties are ITU-T G.998.2 ("G.998.2"), entitled

 "Ethernet-based multi-pair bonding," and IEEE 802.3ah-2004. Plaintiff contends that compliance

 with these standards establishes infringement. Defendant disagrees.

         Both Plaintiff and Defendant have submitted various motions for summary judgment on

 issues of infringement and invalidity, as well as Daubert motions.

 II.     LEGAL ST AND ARD

         A. Summary Judgment

         "The court shall grant summary judgment if the movant shows that there is no genuine

 dispute as to any material fact and the movant is entitled to judgment as a matter of law." Fed. R.

 Civ. P. 56(a). The moving party has the initial burden of proving the absence of a genuinely

 disputed material fact relative to the claims in question. Celotex Corp. v. Catrett, 477 U.S. 317,

 330 (1986). Material facts are those "that could affect the outcome" of the proceeding, and "a
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 dispute about a material fact is 'genuine' if the evidence is sufficient to permit a reasonable jury

 to return a verdict for the nonmoving party." Lamont v. New Jersey, 637 F.3d 177, 181 (3d Cir.

 2011) (quoting Anderson v. Liberty Lobby, Inc. , 477 U.S. 242, 248 (1986)). The burden on the

 moving party may be discharged by pointing out to the district court that there is an absence of

 evidence supporting the non-moving party's case. Celotex, 477 U.S . at 323.

        The burden then shifts to the non-movant to demonstrate the existence of a genuine issue

 for trial. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986);

 Williams v. Borough of West Chester, Pa. , 891 F.2d 458, 460-61 (3d Cir. 1989). A non-moving

 party asserting that a fact is genuinely disputed must support such an assertion by: "(A) citing to

 particular parts of materials in the record, including depositions, documents, electronically stored

 information, affidavits or declarations, stipulations . .. , admissions, interrogatory answers, or other

 materials; or (B) showing that the materials cited [by the opposing party] do not establish the

 absence ... of a genuine dispute .... " Fed. R. Civ. P. 56(c)(l).

        When determining whether a genuine issue of material fact exists, the court must view the

 evidence in the light most favorable to the non-moving party and draw all reasonable inferences

 in that party's favor. Scott v. Harris, 550 U.S. 372, 380 (2007); Wishkin v. Potter, 476 F.3d 180,

 184 (3d Cir. 2007). A dispute is "genuine" only if the evidence is such that a reasonable jury could

 return a verdict for the non-moving party. Anderson, 477 U.S . at 247-49. If the non-moving party

 fails to make a sufficient showing on an essential element of its case with respect to which it has

 the burden of proof, the moving party is entitled to judgment as a matter of law. See Celotex Corp.,

 477 U.S. at 322.




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           B. Daubert

           Federal Rule of Evidence 702 sets out the requirements for expert witness testimony and

 states:

                  A witness who is qualified as an expert by knowledge, skill,
                  experience, training, or education may testify in the form of an
                  opinion or otherwise if: (a) the expert' s scientific, technical, or other
                  specialized knowledge will help the trier of fact to understand the
                  evidence or to determine a fact in issue; (b) the testimony is based
                  on sufficient facts or data; (c) the testimony is the product of reliable
                  principles and methods; and (d) the expert has reliably applied the
                  principles and methods to the facts of the case.

 Fed. R. Evid. 702. The Third Circuit has explained:

                  Rule 702 embodies a trilogy of restrictions on expert testimony:
                  qualification, reliability and fit.       Qualification refers to the
                  requirement that the witness possess specialized expertise. We have
                  interpreted this requirement liberally, holding that a broad range of
                  knowledge, skills, and training qualify an expert. Secondly, the
                  testimony must be reliable; it must be based on the methods and
                  procedures of science' rather than on ' subjective belief or
                  unsupported speculation; the expert must have good grounds for his
                  or her belief. In sum, Daubert holds that an inquiry into the
                  reliability of scientific evidence under Rule 702 requires a
                  determination as to its scientific validity. Finally, Rule 702 requires
                  that the expert testimony must fit the issues in the case. In other
                  words, the expert' s testimony must be relevant for the purposes of
                  the case and must assist the trier of fact. The Supreme Court
                  explained in Daubert that Rule 702' s helpfulness standard requires
                  a valid scientific connection to the pertinent inquiry as a
                  precondition to admissibility.

                  By means of a so-called "Daubert hearing," the district court acts as
                  a gatekeeper, preventing opinion testimony that does not meet the
                  requirements of qualification, reliability and fit from reaching the
                  jury. See Daubert ("Faced with a proffer of expert scientific
                  testimony, then, the trial judge must determine at the outset,
                  pursuant to Rule 104(a) of the Federal Rules of Evidence whether
                  the expert is proposing to testify to ( 1) scientific knowledge that (2)
                  will assist the trier of fact to understand or determine a fact in
                  issue.").


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 Schneider ex rel. Estate a/Schneider v. Fried, 320 F.3d 396, 404-05 (3d Cir. 2003) (cleaned up). 1

         C. Patent Ineligible Subject Matter

         Section 101 of the Patent Act defines patent-eligible subject matter. It provides: "Whoever

 invents or discovers any new and useful process, machine, manufacture, or composition of matter,

 or any new and useful improvement thereof, may obtain a patent therefor, subject to the conditions

 and requirements of this title." 35 U.S.C. § 101. The Supreme Court has recognized an implicit

 exception for three categories of subject matter not eligible for patentability-laws of nature,

 natural phenomena, and abstract ideas. Alice Corp. Pty. v. CLS Bank Int '!, 134 S. Ct. 2347, 2354

 (2014). The purpose of these carve outs is to protect the "basic tools of scientific and technological

 work." Mayo Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1293 (201 2). " [A]

 process is not unpatentable simply because it contains a law of nature or a mathematical

 algorithm," as "an application of a law of nature or mathematical formula to a known structure or

 process may well be deserving of patent protection." Id. at 1293-94 (internal quotation marks and

 emphasis omitted). In order "to transform an unpatentable law of nature into a patent-eligible

 application of such a law, one must do more than simply state the law of nature while adding the

 words ' apply it. "' Id. at 1294 (emphasis omitted).

         The Supreme Court recently reaffirmed the framework laid out in Mayo "for distinguishing

 patents that claim laws of nature, natural phenomena, and abstract ideas from those that claim

 patent-eligible applications of those concepts." Alice, 134 S. Ct. at 2355 . First, the court must

 determine whether the claims are drawn to a patent-ineligible concept. Id. If the answer is yes,

 the court must look to "the elements of the claim both individually and as an ' ordered



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   The Court of Appeals wrote under an earlier version of Rule 702, but the 2011 amendments to it were not intended
 to make any substantive change.
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 combination"' to see if there is an '" inventive concept'- i.e., an element or combination of

 elements that is ' sufficient to ensure that the patent in practice amounts to significantly more than

 a patent upon the [ineligible concept] itself. "' Id. (alteration in original). "A claim that recites an

 abstract idea must include ' additional features ' to ensure that the [claim] is more than a drafting

 effort designed to monopolize the [abstract idea]." Id. at 2357. Further, "the prohibition against

 patenting abstract ideas cannot be circumvented by attempting to limit the use of [the idea] to a

 particular technological environment." Id. at 2358 (quoting Bilski v. Kappas , 561 U.S. 593 , 610-

 11 (2010)). Thus, "the mere recitation of a generic computer cannot transform a patent-ineligible

 abstract idea into a patent-eligible invention."       Id.   For this second step, the machine-or-

 transformation test can be a "useful clue," although it is not determinative. Ultramercial, Inc. v.

 Hulu, LLC, 772 F.3d 709, 716 (Fed. Cir. 2014).

         "Whether a claim is drawn to patent-eligible subject matter under § 101 is an issue of

 law," and "is a matter of both claim construction and statutory construction." In re Bilski, 545

 F.3d 943 , 951 (Fed. Cir. 2008), aff'd sub nam. Bilski v. Kappas, 561 U.S. 593 (2010). "Claim

 construction is a question of law . . .. " In re Nuijten, 500 F.3d 1346, 1352 (Fed. Cir. 2007).

         D. Infringement

         A patent is infringed when a person "without authority makes, uses, offers to sell, or sells

 any patented invention, within the United States ... during the term of the patent .. . ." 35 U. S.C.

 § 271(a).   A two-step analysis is employed in making an infringement determination.                See

 Markman v. Westview Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir. 1995) (en bane), aff'd, 517

 U.S. 370 (1996). First, the court must construe the asserted claims to ascertain their meaning and

 scope. See id. The trier of fact must then compare the properly construed claims with the accused



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 infringing product. See id. at 976. This second step is a question of fact. See Bai v. L & L Wings,

 Inc., 160 F.3d 1350, 1353 (Fed. Cir. 1998).

        "Literal infringement of a claim exists when every limitation recited in the claim is found

 in the accused device." Kahn v. Gen. Motors Corp., 135 F.3d 1472, 1477 (Fed. Cir. 1998). "If any

 claim limitation is absent from the accused device, there is no literal infringement as a matter of

 law." Bayer AG v. Elan Pharm. Research Corp. , 212 F.3d 1241 , 1247 (Fed. Cir. 2000). If an

 accused product does not infringe an independent claim, it also does not infringe any claim

 depending thereon. See Wahpeton Canvas Co. v. Frontier, Inc. , 870 F.2d 1546, 1553 (Fed. Cir.

 1989). However, "[ o]ne may infringe an independent claim and not infringe a claim dependent on

 that claim." Monsanto Co. v. Syngenta Seeds, Inc., 503 F.3d 1352, 1359 (Fed. Cir. 2007) (internal

 quotations omitted). The patent owner has the burden of proving infringement and must meet its

 burden by a preponderance of the evidence. See SmithKline Diagnostics, Inc. v. Helena Lab.

 Corp., 859 F.2d 878, 889 (Fed. Cir. 1988) (citations omitted).

        When an accused infringer moves for summary judgment of non-infringement, such relief

 may be granted only if at least one limitation of the claim in question does not read on an element

 of the accused product, either literally or under the doctrine of equivalents. See Chimie v. PPG

 Indus. , Inc. , 402 F.3d 1371, 1376 (Fed. Cir. 2005); see also TechSearch, L.L.C. v. Intel Corp. , 286

 F.3d 1360, 1369 (Fed. Cir. 2002) ("Summary judgment of noninfringement is ... appropriate

 where the patent owner's proof is deficient in meeting an essential part of the legal standard for

 infringement, because such failure will render all other facts immaterial.").        Thus, summary

 judgment of non-infringement can only be granted if, after viewing the facts in the light most

 favorable to the non-movant, there is no genuine issue as to whether the accused product is covered



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 by the claims (as construed by the court). See Pitney Bowes, Inc. v. Hewlett- Packard Co., 182

 F.3d 1298, 1304 (Fed. Cir. 1999).

        E. Anticipation

        A patent claim is invalid as anticipated under 35 U.S.C. § 102 if "within the four corners

 of a single, prior art document ... every element of the claimed invention [is described] , either

 expressly or inherently, such that a person of ordinary skill in the art could practice the invention

 without undue experimentation." Callaway Golf Co. v. Acushnet Co. , 576 F.3d 1331 , 1346 (Fed.

 Cir. 2009) (alterations in original). As with infringement, the court construes the claims and

 compares them against the prior art. See Enzo Biochem, Inc. v. Applera Corp. , 599 F.3d 1325,

 1332 (Fed. Cir. 2010). Anticipation "may be decided on summary judgment if the record reveals

 no genuine dispute of material fact." Encyclopaedia Britannica, Inc. v. Alpine Elecs. ofAm., Inc.,

 609 F.3d 1345, 1349 (Fed. Cir. 2010).

        F. Obviousness

        A patent claim is invalid as obvious under 35 U.S.C. § 103 "if the differences between the

 claimed invention and the prior art are such that the claimed invention as a whole would have been

 obvious before the effective filing date of the claimed invention to a person having ordinary skill

 in the art to which the claimed invention pertains." 35 U.S.C. § 103; see also KSR Int '! Co. v.

 Teleflex Inc., 550 U.S . 398, 406-07 (2007). "Under § 103 , the scope and content of the prior art

 are to be determined; differences between the prior art and the claims at issue are to be ascertained;

 and the level of ordinary skill in the pertinent art resolved. Against this background, the

 obviousness or nonobviousness of the subject matter is determined." KSR, 550 U.S . at 406

 (internal citation and quotation marks omitted).



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           A court is required to consider secondary considerations, or objective indicia of

 nonobviousness, before reaching an obviousness determination, as a "check against hindsight

 bias." See In re Cyclobenzaprine Hydrochloride Extended- Release Capsule Patent Litig., 676

 F.3d 1063, 1078-79 (Fed. Cir. 2012). "Such secondary considerations as commercial success, long

 felt but unsolved needs, failure of others, etc., might be utilized to give light to the circumstances

 surrounding the origin of the subject matter sought to be patented." Graham v. John Deere Co. of

 Kansas City, 383 U.S. 1, 17-18 (1966). Where "the content of the prior art, the .scope of the patent

 claim, and the level of ordinary skill in the art are not in material dispute, and the obviousness of

 the claim is apparent in light of these factors, summary judgment is appropriate." KSR, 550 U.S.

 at 427.

           G. Indefiniteness

           Section 112 requires that "a patent's claims, viewed in light of the specification and

 prosecution history, inform those skilled in the art about the scope of the invention with reasonable

 certainty." Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 910 (2014); see also 35 U.S.C.

 § 112 ("The specification shall conclude with one or more claims particularly pointing out and

 distinctly claiming the subject matter which the inventor . .. regards as the invention."). The

 requirement that patent claims be definite requires that patents be "precise enough to afford clear

 notice of what is claimed, thereby apprising the public of what is still open to them." Nautilus ,

 572 U.S. at 909 (cleaned up).

           "Indefiniteness is a question of law" appropriate for summary judgment. Eli Lilly & Co.

 v. Teva Parenteral Meds., Inc. , 845 F.3d 1357, 1370 (Fed. Cir. 2017). A claim term "is indefinite

 if its language 'might mean several different things and no informed and confident choice is



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 available among the contending definitions. "' Media Rights Techs., Inc. v. Capital One Fin. Corp.,

 800 F.3d 1366, 1371 (Fed Cir. 2015) (quoting Nautilus, 572 U.S. at 911 n.8).

        H. Written Description

        The written description requirement contained in 35 U.S.C. § 112,         ,r   1 requires that the

 specification "clearly allow persons of ordinary skill in the art to recognize that [the inventor]

 invented what is claimed." Ariad Pharm., Inc. , v. Eli Lilly and Co., 598 F.3d 1336, 1351 (Fed.

 Cir. 2010) (en bane) (alteration in original) (internal quotation marks omitted). "In other words,

 the test for sufficiency is whether the disclosure of the application relied upon reasonably conveys

 to those skilled in the art that the inventor had possession of the claimed subject matter as of the

 filing date." Id. The written description inquiry is a question of fact. See id. Although it is a

 question of fact, "[c]ompliance with the written description requirement . . . is amenable to

 summary judgment in cases where no reasonable fact finder could return a verdict for the non-

 moving party." PowerOasis, Inc. v. T-Mobile USA, Inc., 522 F.3d 1299, 1307 (Fed. Cir. 2008).

 "A party must prove invalidity for lack of written description by clear and convincing evidence."

 Vasudevan Software, Inc. v. MicroStrategy, Inc., 782 F.3d 671,682 (Fed. Cir. 2015).

        I. Enablement

        The enablement requirement, considered a separate and distinct requirement contained in

 35 U.S.C. § 112, ,r 1, assesses whether "one skilled in the art, after reading the specification, could

 practice the claimed invention without undue experimentation." Sitrickv. Drearnworks, LLC, 516

 F.3d 993 , 999 (Fed. Cir. 2008). Because the enablement inquiry takes into account what is known

 to one skilled in the art, the Federal Circuit has "repeatedly explained that a patent applicant does

 not need to include in the specification that which is already known to and available to one of

 ordinary skill in the art." Koito Mfg. Co. v. Turn-Key-Tech, LLC, 381 F.3d 1142, 1156 (Fed. Cir.

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 2004). "Enablement is a legal question based on underlying factual determinations." Vasudevan ,

 782 F.3d at 684. Factors considered in assessing the enablement requirement include:

         (1) the quantity of experimentation necessary, (2) the amount of direction or
         guidance presented, (3) the presence or absence of working examples, (4) the nature
         of the invention, (5) the state of the prior art, (6) the relative skill of those in the art,
         (7) the predictability or unpredictability of the art, and (8) the breadth of the claims.

 In re Wands, 858 F.2d 731 , 737 (Fed. Cir. 1988). "A party must prove invalidity for lack of

 enablement by clear and convincing evidence." Vasudevan, 782 F.3d at 684.

 III.    DISCUSSION

         A. Summary Judgment

                   1. The Asserted Claims are not Directed to an Abstract Idea

         Plaintiff has moved for summary judgment of no invalidity under 35 U.S .C. § 101. (D.I.

 739). Defendant cross-moves for summary judgment of invalidity. 2 (D.I. 856). Plaintiff argues

 that the asserted claims are not directed to an abstract idea, or, in the alternative, embody an

 inventive concept. (D.I. 740 at 11 , 13). Defendant asserts that the ' 881 patent claims are directed

 to the abstract idea of "selecting transmission parameter settings for transmitters so that those

 transmitters impose similar delays on the data they transmit," (D.I. 858 at 6), and merely apply a

 mathematical principle. (Id. at 7). I agree with Plaintiff.

          First, the asserted claims are not directed to an abstract idea or mathematical concept.

 Defendant urges that several claim elements are "purely mathematical" and that the claims as a

 whole merely apply the mathematical equation "L = N*D/R".3 (D.I. 858 at 7). However, the



 2 Plaintiff argues that Defendant's cross-motion violates my scheduling order and therefore should be disregarded.
 (D.I. 929 at 4). However, Rule 56(f) provides that "the court may grant summary judgment for a nonmovant."
 Moreover, patent eligibility under § 101 is a legal question and, as such, Plaintiff should have been on notice that by
 moving for summary judgment, I may resolve that legal question in favor of the Defendant.
 3
   As described in the specification, the variables in this equation are defined as follows: "L" represents configuration
 latency, "N" represents the number of bits being transferred, "D" represents the interleaver depth, and "R" represents
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 Federal Circuit has warned against "describing the claims at such a high level of abstraction and

 untethered from the language of the claims," Enfish, 822 F.3d at 1337, because "all inventions can

 be reduced to underlying principles of nature." Diamond v. Diehr, 450 U.S. 175, 189 n.12 (1981 ).

 "[A]n application of a law of nature or mathematical formula to a known structure or process may

 well be deserving of patent protection." Mayo, 132 S. Ct. at 1293-94 (cleaned up). Moreover, the

 Federal Circuit in Enfish found it "relevant to ask whether the claims are directed to an

 improvement to computer functionality versus being directed to an abstract idea, even at the first

 step of the Alice analysis." Enfish, 822 F.3d at 1335.

         The Asserted Claims are directed to an improvement in bonded transceivers: the ability to

 use bonded transceivers with different data rates while minimizing the differential latency between

 the transceivers. Claim 17 recites an apparatus with multiple bonded transceivers where the

 transceivers have different data rates and each transceiver utilizes one or more transmission

 parameter values to reduce a difference in configuration latency between the transceivers. Claim

 18 depends from claim 17 and recites an apparatus where at least one transmission parameter value

 is a specific type of value.

          The claims do not broadly cover essentially all applications of a mathematical formula "for

 which computers are invoked merely as a tool. " Enfish, 822 F.3d at 1336. " [T]he plain focus of

 the claims is on an improvement to computer functionality itself," that is, a reduction in the delay

 of data transmission in DSL technology. Id.                 The claims are not directed to any use of the

 mathematical formulas disclosed in the specification but are specifically directed to minimizing

 delay on bonded transceivers with different data rates. Moreover, these claims are distinct from



 the data transfer rate in data bits per second. (' 881 patent, col:6:66-7 :34). Additionally, the symbol " *" represents
 multiplication.
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 those in Electric Power Group, LLC v. Alstom SA. , 830 F.3d 1350 (Fed Cir. 2016). The claims

 there were directed to "a process of gathering and analyzing information of a specified content,

 then displaying the results, and not any particular inventive technology for performing those

 functions." Id. at 1354. Here, the claims are directed to a specific improvement in how data

 transmission over DSL lines may be achieved. Therefore, I determine that the asserted claims are

 not patent ineligible under § 101. Thus, Plaintiffs motion for summary judgment of no invalidity

 under§ 101 is GRANTED and Defendant' s cross-motion is DENIED.

                  2. Genuine Material Disputes of Fact Exist as to Infringement

        Plaintiff has moved for summary judgment of infringement.            (D.I. 746).    Defendant

 independently moved for summary judgment of non-infringement.               (D.I. 715).    Defendant

 affirmatively argues that "the unrebutted evidence establishes that the Accused [] Products do not

 meet the limitations of the claims of the ' 881 patent" (D.I. 716 at 5), and that Plaintiff cannot

 present evidence that creates a material dispute of fact. (Id. at 14). Plaintiff argues in its motion,

 "There is no genuine issue of material fact in dispute that the Accused Products infringe claims 17

 and 18 of the ' 881 patent." (D.I. 747 at 5). After reviewing the parties' submissions, I determine

 there are material disputes of fact that make summary judgment on the issue of infringement

 inappropriate.

        First, there is a material dispute of fact as to (1) whether the source code functions in an

 infringing manner and (2) if so, whether the identified source code is compiled in the accused

 product. Plaintiff has identified testimony by its experts that the operation of the source code used

 in the accused chip "corresponds to the limitation ' utilizing at least one transmission parameter

 value to reduce a difference in latency between the bonded transceivers, wherein a data rate for a

 first of the bonded transceivers is different than a data rate for a second of the bonded

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 transceivers. "'   (D.1. 747 at 12-13 (citing D.I. 748-18        ,r,r   51-54, 56-57 & Attachment E)).

 Defendant has identified contradictory testimony from Broadcom' s 30(b)(6) witness, Dr. Yu, that

 the chipset used in the Accused Products does not calculate transmission parameters as required

 by the claims because "any minor difference in latency between bonded lines is not likely to be a

 problem." (D.I. 716 at 13 (citing D.I. 734-10 at 427:6-8; 427:10-16)). Defendants also provide

 opinions from its expert, Dr. Walker, that Plaintiffs expert has failed to show that the purported

 infringing code is actually compiled into any Accused Product. (D.I. 716 at 22 (citing D.I. 717 ,r,r

 68-72)). However, Plaintiffs expert, Dr. Almeroth, has provided an opinion that if the infringing

 code were not compiled, the Accused Product would be incapable of any bonding operation at all.

 (D.I. 747 at 13 (citing D.I. 748-25   ,r 24)).   Thus, there is a material dispute of fact as to whether

 the Accused Products use infringing source code.

         Second, there is a material dispute of fact as to what the ITU G.998.2 standard requires

 and whether compliance with that standard infringes the '881 patent. Dr. Cooklev, Plaintiff's

 expert, and Dr. Jacobsen, Defendant's expert, disagree on whether the standard requires that"' [t]he

 PMD [physical medium dependent] control of aggregated links controls the maximum latency

 difference between any two aggregated links' which 'is achieved by configuring the bit rate, error

 correction and interleaving functions of the PMA/PMD of each link."' (D.I. 716 at 14; D.I. 729-

 2 ,r,r 26-27).

         Third, there are material disputes as to the weight to be given to the testimony of Dr. Yu

 and Dr. Cooklev. Plaintiff alleges that Broadcom' s corporate witness, Dr. Yu, is biased and

 therefore his testimony should be disregarded. (D.I. 925 at 4 n.1). Defendant argues that Dr.

 Cooklev' s test were not appropriately configured and should be disregarded. (D.1. 716 at 17).



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         The resolution of these disputes is reserved for the jury. In evaluating a motion for

 summary judgment, I am required to view the evidence in the light most favorable to the non-

 moving party and draw all reasonable inferences in that party' s favor. The evidence is such that a

 reasonable jury could return a verdict for either party. Thus, neither party is entitled to summary

 judgment on the issue of infringement. I deny both Plaintiffs motion for summary judgment of

 infringement and Defendant's motion for summary judgment of non-infringement. 4

                  3. Material Disputes of Fact Exist as to Anticipation and Obviousness

         Plaintiff moves for summary judgment of no invalidity under§ 102 and§ 103. (D.I. 735).

 Plaintiff argues that Defendant has not shown and cannot show that any of the three identified

 references-Counterman, Edvardsen or Keller-Tuberg- taken individually teaches each element

 of the Asserted Claims. (D.I. 736 at 7). Plaintiff also asserts that summary judgment of no

 obviousness should be granted because each combination that Defendant asserts lacks at least one

 element of the asserted claims. (Id at 19). Defendant argues that there are genuine disputes of

 material fact as to whether the prior art references and combinations teach the limitation that

 Plaintiff alleges is missing-"each bonded transceiver utilizing at least one transmission parameter

 value to reduce a difference in latency between the bonded transceivers."                      (D.I. 930 at 1).

 Defendant additionally argues that Plaintiffs motion asks me to weigh the credibility of Dr.

 Jacobsen's testimony, which is a matter reserved for the jury. (Id).

         Plaintiffs motion relies entirely on purported contradictions between Dr. Jacobsen's

 deposition testimony and her expert reports to allege that the facts are undisputed. Plaintiff thus

 asks me to weigh the purportedly contradictory testimony in her deposition to negate her opinions



 4
   As I have resolved the motions without consideration of the purportedly new arguments and new evidence identified
 in Plaintiff's Motion for Leave to File a Sur-Reply (D.1. 1026), I will dismiss that motion as moot.
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 from her reports. (D.I. 736). That is improper on a motion for summary judgment. "Credibility

 determinations, the weighing of the evidence, and the drawing of legitimate inferences from the

 facts are jury functions, not those of a judge [on summary judgment]. .. The evidence of the non-

 movant is to be believed, and all justifiable inferences are to be drawn in his favor." Anderson.

 477 U.S. at 255 . A reasonable jury, looking at both Dr. Jacobsen's testimony from her expert

 report and deposition could determine that that the Asserted Claims are invalid for anticipation

 and obviousness. Thus, summary judgment of no invalidity under § 102 and § 103 is inappropriate

 and Plaintiffs motion is DENIED.

                4. The Asserted Claims are not Invalid for Indefiniteness

        Plaintiff moves for summary judgment of no invalidity for indefiniteness. (D.I. 739).

 Plaintiff asserts two theories: (1) that Defendant waived an indefiniteness defense by abandoning

 its attempt to construe the claim and failing to raise the issue of indefiniteness at claim

 construction, and (2) that Defendant has failed to prove the claim to be indefinite by clear and

 convincing evidence. (D.I. 740 at 15-16). Defendant argues that (1) it has not waived the

 indefiniteness issue and (2) it has presented evidence from which a reasonable jury could conclude

 that the asserted claims are indefinite. (D.I. 858 at 13-14).

        First, Defendant has not waived its indefiniteness defense. There is no requirement that

 indefiniteness be raised at claim construction.       Moreover, case law in this district supports

 Defendant's position "that the submission of a proposed construction for a claim term does not

 amount to a waiver of a later indefiniteness challenge," and thus the failure to raise indefiniteness

 at claim construction is not a waiver. Leader Techs, Inc. v. Facebook, Inc., 770 F. Supp. 2d 686,

 708 (D. Del. 2011). Therefore, I determine that Defendant has not waived its indefiniteness

 defense.

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         Second, Plaintiff has demonstrated that Defendant has failed to make a sufficient showing

 for its indefiniteness defense. Defendant argues that it "has presented competent evidence that

 claims 17 and 18 of the ' 881 patent are indefinite because a POSITA would not know, with

 reasonable certainty, when "each bonded transceiver [of a plurality of bonded transceivers is]

 utilizing at least one transmission parameter value to reduce a difference in latency between the

 bonded transceivers." (D.I. 858 at 14). Specifically, Defendant points to Dr. Jacobsen' s testimony

 that "the transmission parameters for a transceiver ... are not known until a transceiver is

 initialized" and therefore "there is no way to establish a reference point to determine that a

 difference in latency has been reduced. " (Id. at 14-15 (citing D.I. 867 i!i! 179-80, 184)). Plaintiff

 argues that Defendant' s indefiniteness argument resurrects its abandoned and incorrect

 construction of the claim term "to reduce a difference in latency." (D.I. 740 at 15). Plaintiff asserts

 that the claim language does not require "reduc[ing] a [known] difference in [already-existing]

  latency" but at minimum requires only "reducing the potential difference in latency." (Id. at 18).

         Defendant's "arguments appear to be based on the wrong legal standard, i.e. , written

  description or enablement as opposed to indefiniteness." Augme Techs., Inc. v. Yahoo! Inc., 755

  F.3d 1326, 1340 (Fed. Cir. 2014). The indefiniteness standard requires that the claims "viewed in

  light of the specification and prosecution history, inform those skilled in the art about the scope of

  the invention with reasonable certainty." Nautilus, 572 U.S. at 910. The asserted claims are clear

  on their face as to what is claimed. Dr. Jacobsen' s testimony reflects that a person of ordinary

  skill would understand the scope of the claim language; her opinion identifies what the claim

  requires. Her objection is that there is no embodiment demonstrating how to reduce rather than

  how to eliminate the difference in configuration latency. This is not an issue of whether a person

  of ordinary skill in the art would understand the claim scope, but an issue of whether that claim is

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 properly supported by written description or enabled by the patent specification. Therefore, I

 determine that the term "each bonded transceiver utilizing at least one transmission parameter

 value to reduce a difference in latency between the bonded transceivers" is not indefinite. Thus,

 Plaintiffs motion for summary judgment of no invalidity for indefiniteness is GRANTED.

                5. Material Disputes of Fact Exist as to Written Description

         Plaintiff moves for summary judgment of no invalidity for written description. (D.I. 739).

 Plaintiff asserts that there is no dispute that the specification describes an embodiment of the claims

 and that description of a single embodiment satisfies the written description requirement of§ 112.

 (D.I. 740 at 20). Defendant argues that § 112 requires sufficient written description for the full

 scope of the claim and the '881 patent fails this requirement. (D.I. 838 at 18-19). Specifically,

 Defendant's expert, Dr. Jacobsen, provides testimony that "the written description and drawings

 do not disclose and do not provide any guidance regarding how to reduce, without eliminating

 entirely, a difference in configuration latency between the bonded transceivers. " (D.I. 8671 197).

         The parties do not dispute that the '881 patent discloses how to eliminate any difference in

 configuration latency. (D.I. 838 at 19). However, the parties do not agree that disclosure of how

 to eliminate that difference is an adequate disclosure to support the broader claim on how to reduce

 the difference. (Id.) . Defendant alleges that there are important differences between elimination

 and reduction of differential configuration latency. (D.1. 838 at 20). Talcing the evidence in the

  light most favorable to the non-moving party, as I am required to do, I determine that a reasonable

 jury could find that the asserted claims are invalid for lack of written description.

                 6. The Asserted Claims are Not Invalid for Lack of Enablement

         Plaintiff moves for summary judgment of no invalidity for lack of enablement. (D.I. 739).

  Plaintiff asserts that Dr. Jacobsen's analysis "is insufficient to demonstrate that 'a person of

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 ordinary skill in the art would not be able to practice the claimed invention without undue

 experimentation,"' because she "has not explained why a POSITA . .. will be unable to realize

 non-identical configuration latencies by adding an offset value." (D.I. 740 at 19-20 (citing Alcon,

 745 F.3d at 1188)). Defendant argues that it has presented evidence that the full scope is not

 enabled because the '881 patent does "not describe to a POSITA how to reduce a difference in

 latency without eliminating it entirely." (D.I. 858 at 17 (citing D.I.   867,r,r 205-10)).
        The appropriate standard for enablement assesses whether a POSITA "after reading the

 specification, could practice the claimed invention without undue experimentation." Sitrick, 516

 F.3d at 999. Dr. Jacobsen' s expert testimony on enablement in both her expert report and

 declaration, taken in the light most favorable to Defendant, does not satisfy this standard. (D.I.

 743-5 ,r,r 145-148; D.I. 867,r,r 205-210). Dr. Jacobsen makes no assessment of whether a POSITA

 would be able to practice the claimed invention after reading the specification. The closest she

 comes is the statement that "enabling [reduction in differential latency] would have required one

 of ordinary skill in the art to add functionality to the transceivers, or the system." (D.I. 743-5   ,r
 146; D.I. 867   ,r 206).   She does not, however, offer any opinion on whether a POSITA would

 understand how to add that functionality to the transceiver without engaging in undue

 experimentation. Dr. Jacobsen's report focuses wholly on what the specification discloses and

 ignores that information "already known to and available to one of ordinary skill in the art" need

 not be included in the specification for the patent to be enabled. Koito , 381 F.3d at 1156.

 Therefore, Plaintiff has demonstrated that Defendant failed to make a sufficient showing on an

 essential element of its case with respect to which it has the burden of proof. See Celotex Corp.,

 477 U.S. at 322. Thus, I grant Plaintiffs motion for summary judgment of no invalidity for lack

 of enablement.

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         B. DAUBERT

             1. Dr. Walker's Rebuttal Report

         Plaintiff moves to exclude Dr. Walker' s opinions in his reply rebuttal report on the

 Broadcom source code because (1) Dr. Walker lacks knowledge to support his opinions because

 he did not personally review the source code, (2) Dr. Walker merely parrots the opinions of his

 assistant, Mr. Haeberli, and (3) Dr. Walker' s opinions are inadmissible under Federal Rule of

 Evidence 403 . (D.I. 731 at 16-17, 22). Defendant asserts that Dr. Walker properly relied on Mr.

 Haeberli' s review of the source code, that Dr. Walker' s opinions are his own, and that there is no

 risk that Dr. Walker' s testimony would mislead the jury or cause confusion. (D.I. 841 at 13, 16,

  18). I agree with Defendant.

         First, Dr. Walker' s reliance on printouts of the source code produced under the protective

  order, Dr. Almeroth' s review of the source code, and Mr. Haeberli ' s review of the source code, is

 permissible under Rule 702 and Daubert. Expert testimony must be based on sufficient facts or

 data and be the product ofreliable principles and methods. Fed. R. Evid. 702. Courts in the Third

  Circuit allow expert witnesses to "use assistants in performing [their] work, so long as those

 assistants do not exercise professional judgment that is beyond the expert' s ken." Adani Exports

 Ltd. v. AMC! (Export) Corp., 2008 WL 4925647, at *3 (W.D. Pa. Nov. 14, 2008); see also Muhsin

  v. Pac. Cycle, Inc. , 2012 WL 2062396, at *5 (D.V.I. June 8, 2012). Additionally, I have previously

 found expert testimony admissible over a Daubert objection where the expert relied on excerpts

  of source code provided to him. Jplearn, LLC v. Blackboard, Inc., 2014 WL 4954462, at *2 (D.

  Del. Sept. 29, 2014). As in that case, Dr. Walker was able to evaluate whether any pieces of the

 produced source code were related to infringement. (D.I. 732-20        ,r,r 43 -44, 54).   Whether Dr.



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 Walker should have personally reviewed the entirety of the source code is a matter for cross-

 examination, not admissibility.

         Second, I do not find Dr. Walker' s opinions relying on Mr. Haeberli' s review of the source

 code to be "mere parroting" of another' s opinion. Dr. Walker' s rebuttal report makes clear that he

 directed the methodology of Mr. Haeberli ' s review of the source code and gave specific

 instructions. (D.I. 732-20   ,r,r   38, 46). I determine that Mr. Haeberli' s review is the type of

 information upon which an expert would reasonably rely in making his opinions. Moreover,

 Plaintiff may cross-examine Dr. Walker on the methodology about which he instructed Mr.

 Haeberli and whether he actually reviewed the source code himself. This is not an issue of

 admissibility.

         Third, I determine that Dr. Walker' s testimony is not so likely to mislead the jury and

 confuse the issues as to substantially outweigh the probative value of his testimony. Dr. Walker' s

 expert report makes clear when he is relying on "produced" source code and when he is relying on

 Mr. Haeberli ' s review of the escrowed source code. (D.I. 732-20       ,r,r 33-56).   Moreover, these

 distinctions are the sort that are easily clarified on cross-examination. Therefore, under Rule 403 ,

 I do not find the probative value of Dr. Walker' s expert testimony to be substantially outweighed

 by the risk of confusing the issues or misleading the jury.

         Thus, Plaintiffs motion to exclude Dr. Walker' s testimony is DENIED.

             2. Dr. Cooklev's Opinions

         Defendant moves to exclude Dr. Cooklev' s testimony because (1) he is not qualified to

  render opinions, (2) his opinions are not relevant because they do not test for differential latency,

  and (3) his methodology is flawed. (D.I. 721 at 11 , 13, 16). Plaintiff asserts (1) that Dr. Cooklev



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 is qualified in the field of DSL technology, (2) that his opinions are reliable, and (3) that his

 methodology is reliable. (D.1. 850 at 12, 16, 20). I agree with Plaintiff.

        First, I determine that Dr. Cooklev is qualified to offer his opinions. "The Third Circuit

 has interpreted the ' qualification' requirement liberally, explaining: 'Qualification requires that

 the witness possess specialized expertise. We have interpreted this requirement liberally, holding

 that a broad range of knowledge, skills, and training qualify an expert as such. '" Sanos, Inc. v. D

 & M Holdings, Inc., 297 F. Supp. 3d 501 , 508 (D. Del. 2017) (quoting Calhoun v. Yamaha Motor

 Corp., US.A., 350 F.3d 316, 321 (3d Cir. 2003)). It is improper for a court "to exclude testimony

 simply because the trial court does not deem the proposed expert to be the best qualified or because

 the proposed expert does not have the specialization that the court considers most appropriate."

 Pineda v. Ford Motor Co., 520 F .3d 23 7, 244 (3d Cir. 2008). "[I]t is not necessary that the expert

 have expertise in the precise technology that is the subject of the patent or patents in suit." Sanos,

 297 F. Supp. 3d at 510 (citing In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 741 (3d Cir. 1994)).

        I am satisfied that Dr. Cooklev's qualifications are sufficient to make his testimony helpful

 to the jury in understanding the evidence in this case. Dr. Cooklev holds a Ph.D in Electrical

 Engineering.    As a professional, "Dr. Cooklev has worked extensively in the network

 communications industry, including with various types of wired and wireless multicarrier

 communications systems." (D.1. 850 at 9).         Dr. Cooklev's research has also involved DSL

 standards. (D.1. 850 at 10). Dr. Cooklev' s qualifications far exceed the qualifications of a POSITA

 as set out by Defendant' s expert. (D.I. 743-5        ,r   53). Defendant objects that Dr. Cooklev's

 experience is with wireless technologies, and that his experience with wired DSL technology is

 insufficient to qualify him to testify as an expert. (D.I. 721 at 12). Defendant attempts to define

 the pertinent art too narrowly.    I determine that Dr. Cooklev has sufficient experience with

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 communication systems, including DSL, to offer specialized testimony that would be helpful to

 the jury.

         Second, I find Dr. Cooklev' s opinions are relevant to aid the jury in assessing the accused

 products for infringement. Defendant objects that Dr. Cooklev does not test for differential

 latency. (Id. at 13). Both Plaintiff and Dr. Cooklev acknowledge that his testing has limitations.

 That Defendant disagrees with the value of Dr. Cooklev's tests, however, is not a matter of

 admissibility, but of weight and credibility. Defendant may address the purported deficiencies of

 Dr. Cooklev's testing through cross-examination and the presentation of contrary evidence.

         Third, I find Dr. Cooklev' s methodology to be reliable. The parties and their experts

 appear to disagree as to the existence of standard industry testing. (D.I. 721 at 16; 850 at 20).

 Moreover, Defendant's dispute as to whether Dr. Cooklev selected the appropriate test or

 configured his test appropriately goes to the weight and credibility of Dr. Cooklev' s opinion, not

 to its admissibility. Defendant may challenge Dr. Cooklev' s opinions through cross-examination

 and the presentation of contrary evidence.

              3. Dr. Jacobsen's Testing Opinions

         Plaintiff moves to exclude Dr. Jacobsen's opinions 5 regarding both Dr. Cooklev and

 Defendant's testing of the Accused Products because:

         (1) her rebuttal report' s failure to cite to and provide the "service profiles," and
         explain some portion of the "service profiles" [which] supports her opinions
         violates the disclosure requirements of Rule 26; (2) such opinions are unreliable
         under FRE 702 and Daubert because Dr. Jacobsen does not provide any
         information on the service profiles that she relied on; and (3) such opinions are
         irrelevant because infringement of claims 17 and 18 of the ' 881 patent by the
         Accused Products is not dependent on actual use of the Accused Products by
         2Wire' s customers.


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   Plaintiff also moves to exclude Dr. Jacobsen' s opinions on damages and valuation. (D.I. 719 at 6). However, I
 have dismissed these issues without prejudice as premature. (D.I. 1035).
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 (D.I. 719 at 7). Defendant asserts that Dr. Jacobsen's opinions should not be excluded because

 Plaintiff had the "service profile" information from a separate document disclosure and had

 sufficient information such that Dr. Cooklev could have properly configured his tests. (D.I. 854

 at 24). I agree with Defendants.

        While Dr. Jacobsen's rebuttal report, dated November 30, 2018, does not contain the

 service profile information upon which she relies for her opinions, citing "confidentiality"

 concerns (D.I. 743-14   ,r,r 70, 77), Defendant provided the service profiles to Plaintiff as a part of
 "document production" in an email on November 29, 2018, the day before Dr. Jacobsen's report.

 (D.I. 743-17). Plaintiff argues that this production is not sufficient to save Dr. Jacobsen's opinions

 because the report did not indicate that the service profiles would be provided (D.I. 743-14 ,r,r 70,

 77), and the email did not indicate that the production was related to Dr. Jacobsen' s rebuttal report.

 (D.I. 743-17). However, I note that Plaintiff waited until December 20, 2018, the day before Dr.

 Cooklev' s reply report was due, to inquire about the underlying service profile information. (D.I.

 743-18 at 2-3).    Given how close in time the production of the service profiles was to Dr.

 Jacobsen' s report, exclusion of Dr. Jacobsen's opinions under Rule 26 or Daubert would elevate

 form over substance. Moreover, Plaintiff has had the opportunity to depose Dr. Jacobsen on her

 opinions and the underlying methodology used in Defendant' s testing of the Accused Products.

 Thus, Dr. Jacobsen's opinions regarding the service profile testing will not be excluded under

 Daubert or Rule 26.

        I also agree with Defendant regarding Dr. Jacobsen's reliance on a conversation with Mr.

 Miller, Defendant' s corporate witness on technical issues. Dr. Jacobsen's conversation with Mr.

 Miller is the sort of evidence that an expert would normally rely on in reaching his or her

 conclusions. Moreover, Plaintiffs primary objection is that Dr. Jacobsen "provides absolutely no

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 documentation regarding the scope of the alleged interview or what facts and data were discussed

 during such interview." (D.I. 719 at 20). However, Plaintiff had the opportunity to depose both

 Mr. Miller and Dr. Jacobsen, and Dr. Jacobsen' s opinion discloses the relevant facts from her

 interview with Mr. Miller. (D.I. 743-14 ,r 61). Thus, Dr. Jacobsen' s reliance on her interview with

 Mr. Miller does not violate either Rule 26 or Daubert.

        Plaintiffs motion to exclude Dr. Jacobsen' s opinions is thus DENIED.

 IV.    CONCLUSION

        For the foregoing reasons, the parties ' motions are resolved as follows:

        1. Plaintiffs Motion for Summary Judgment of Infringement is DENIED.

        2. Defendant's Motion for Summary Judgment of Non-Infringement is DENIED.

        3. Plaintiffs Motion for Leave to File a Sur-Reply is DISMISSED as moot.

        4. Plaintiffs Motion for Summary Judgment of No Invalidity under§ 101 and§ 112 is

            GRANTED as to patent eligibility, indefiniteness, and enablement and DENIED as to

            written description.

        5. Defendant' s Cross-Motion for Summary Judgment of Invalidity under § 101 1s

            DENIED.

        6. Plaintiffs Motion for Summary Judgment of No Invalidity under§ 102 and§ 103 is

            DENIED.

        7. Plaintiffs Motion to Preclude Opinions of Dr. Jacobsen is DENIED as to her testing

            opinions and the remainder is dismissed as premature.

        8. Defendant's motion to Preclude the Expert Testimony of Dr. Cooklev is DENIED.

        9. Plaintiffs Motion to Preclude Expert Opinions of Dr. Walker is DENIED.

        An accompanying order will be entered.

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